         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 1 of 34



 1

 2

 3

 4

 5

 6
                          UNITED STATES DISTRICT COURT
 7                    WESTERN WASHINGTON DISTRICT - SEATTLE

 8
     INSOMNIAC HOLDINGS, LLC a Delaware              NO. 2:20-cv-00137
 9   limited liability company.
                                                    DEFENDANTS’ VERIFIED
10                                 Plaintiff,       ANSWER, AFFIRMATIVE
                                                    DEFENSES AND
11           and                                    COUNTERCLAIMS

12   CONSCIOUS ENTERTAINMENT GROUP,
     LLC, d/b/a USC Events, A Washington
13   limited liability company, and CHAD
     ANDERSON, an individual,
14
                                   Defendants.
15

16
            Defendants, CONSCIOUS ENTERTAINMENT GROUP, LLC, A Washington
17
     Liability Company, and CHAD ANDERSON, an individual, by and through his
18
     attorneys, Valor Law Group, PS, in answer to the Complaint admits, denies, and
19
     affirmatively alleges as follows. Each and every averment not specifically admitted
20
     is denied.
21
                                      I. INTRODUCTION
22
            1.     Answering Paragraph 1 of the Complaint, Defendants deny the same.
23

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 1
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 2 of 34



 1           2.      Answering the first sentence of Paragraph 2, Defendants admit the

 2   same. Answering the second sentence of Paragraph 2, Defendants deny the same.

 3           3.      Answering the first sentence of Paragraph 3, Defendants admit the

 4   same. Answering the second sentence of Paragraph 3, this averment references a

 5   document that speaks for itself and any contrary allegations are denied. Answering

 6   the third sentence of Paragraph 3, Defendants admit USC could request funds from

 7   Plaintiff’s successor in interest to pay costs. All remaining allegations are denied.

 8           4.      Answering the first sentence of Paragraph 4, Defendants admit the

 9   same.        Answering the second sentence of Paragraph 4, Defendants admit

10   advancing invoices, including a 5th invoice on June 12, 2019 that was ignored by

11   Plaintiff, but deny the remaining allegations. Answering the third sentence of

12   Paragraph 5, Defendants are without information or belief as to what Plaintiff did or

13   did not do with each invoice, and therefore deny the same. Defendants admit further

14   Plaintiff merely advanced funds that were owing for the 2019 Event, but deny the

15   funds were only available to pay specific vendors, as Defendants had authority to

16   determine in their sole discretion which vendors or artists to pay.

17           5.      Answering the first sentence of Paragraph 5, Defendants deny the

18   same. Defendants admit further Plaintiff merely advanced funds that were owing for

19   the 2019 Event, but deny the funds were only available to pay specific vendors, as

20   Defendants had authority to determine in their sole discretion which vendors or

21   artists to pay depending on the urgency.         Answering the second sentence of

22   Paragraph 5, Defendants are without information or belief regarding this averment,

23

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 2
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 3 of 34



 1   and therefore deny the same. Answering the third sentence of Paragraph 5,

 2   Defendants deny the same.

 3         6.     Answering Paragraph 6, this averment references a document and any

 4   contrary allegations are denied. To the extent an answer is required, Defendants

 5   deny the same.

 6         7.     Answering Paragraph 7, Defendants deny the same and backup

 7   documentation was provided by Defendants to Plaintiff.

 8         8.     Answering the first sentence of Paragraph 8, Defendants admit Plaintiff

 9   sent a notice that failed to comply with the terms of the Agreement. Answering the

10   second sentence of Paragraph 8, Defendants deny the same.

11         9.     Answering the first sentence of Paragraph 9, Defendants admit Plaintiff

12   requested different types of financial information, but deny the remaining allegations.

13   Answering further, after Defendants provided the additional financial documents on

14   September 21, 2019, including a so-called “AP report” as requested, Plaintiff

15   strategically sat on the information and failed to inform Defendants they wanted yet

16   additional information, aside from an email inquiring about a specific artist until

17   October 28, 2019.     During this period, Defendants repeatedly asked for the full

18   venue settlement and back up but was only given estimates until October 10, 2019.

19   Answering the second sentence of Paragraph 9, Defendants are without information

20   or belief, and therefore deny the same. Answering the third sentence of Paragraph

21   9, this averment references a document and any contrary allegations are denied.

22         10.    Answering the first sentence of Paragraph 10, Defendants admit the

23   same. Answering the second sentence of Paragraph 10, Defendants do not

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 3
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 4 of 34



 1   understand this vague averment as to which vendors, and therefore deny the same.

 2   Answering the third sentence of Paragraph 10, Defendants admit some vendors

 3   have not been paid.

 4         11.    Answering Paragraph 11, Defendants admit making comments on

 5   social media referencing a 2020 Event.       Defendants admit starting the booking

 6   process, which stopped after the commencement of this action and Plaintiff booked

 7   a competing event called Beyond Wonderland on the same dates the Paradiso

 8   Event would have ran.

 9         12.    Answering Paragraph 12, Defendants deny the same.

10                                          II. Parties

11         13.    Answering Paragraph 13, Defendants are without information or belief,

12   and therefore deny the same.

13         14.    Answering Paragraph 14, Defendants admit the same.

14         15.    Answering Paragraph 15, Defendants deny living in Snohomish County

15   and admit living in King County.

16                                  III. Jurisdiction and Venue

17         16.    Answering Paragraph 16, Defendants admit the same.

18         17.    Answering Paragraph 17, Defendants admit the same.

19         18.    Answering Paragraph 18, Defendants admit the same.

20         19.    Answering Paragraph 19, Defendants admit the same.

21                                           IV. Facts

22         20.    Answering Paragraph 20, this averment references a document that

23   speaks for itself and any contrary allegations are denied.

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 4
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 5 of 34



 1          21.    Answering Paragraph 21, this averment references a document that

 2   speaks for itself and any contrary allegations are denied. Defendants admit Exhibit

 3   A is a copy of the contract.

 4          22.    Answering Paragraph 22, this averment references a document that

 5   speaks for itself and any contrary allegations are denied.

 6          23.    Answering Paragraph 23, this averment references a document that

 7   speaks for itself and any contrary allegations are denied.

 8          24.    Answering Paragraph 24, this averment references a document that

 9   speaks for itself and any contrary allegations are denied.

10          25.    Answering Paragraph 25, this averment references a document that

11   speaks for itself and any contrary allegations are denied.

12          26.    Answering Paragraph 26, this averment references a document that

13   speaks for itself and any contrary allegations are denied. Answering further,

14   expenses were mutually agreed upon after the Event.

15          27.    Answering Paragraph 27, this averment references a document that

16   speaks for itself and any contrary allegations are denied.      Answering further,

17   Defendants admit “Insomniac could pay mutually agreed talent and production costs

18   upon USC’s request.”

19          28.    Answering Paragraph 28:

20                 a. Defendant admits back up was required, but denies two-week’s

21                    notice was required before payment deadlines. Defendants admit

22                    Insomniac’s Senior Director of Finance/Accounting unilaterally

23                    developed a new methodology for how the Event should be

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 5
25
        Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 6 of 34



 1                 managed and funded in the middle of the process, Insomniac

 2                 refused to fund requests for payment unless it had two-week’s

 3                 notice when the prior agreement had always been to process

 4                 funding requests in three to five days. Answering further, the names

 5                 of specific entities were for the purpose of funding agreed budget

 6                 line items was not a promise or guarantee to pay specific all entities

 7                 in the order submitted because the costs of the Event were the

 8                 costs. Plaintiff agreed that Defendants could divert money to pay

 9                 other costs of the Event if those costs became an emergency, and

10                 that is precisely what Defendants did; however, all costs were

11                 reconciled at settlement.

12              b. Defendants admit the same.

13              c. Answering this vague averment, Defendants admit the names of

14                 specific entities were for the purpose of funding agreed budget line

15                 items and was not a promise or guarantee to pay all entities in the

16                 order submitted because the costs of the Event were the costs.

17                 Plaintiff agreed that Defendants could divert money to pay other

18                 costs of the Event if those costs became an emergency, and that is

19                 precisely what Defendants did; however, all costs were reconciled

20                 at settlement.

21              d. Defendants admit the same.

22        29.   Answering Paragraph 29, Defendants admit the same.

23

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 6
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 7 of 34



 1         30.    Answering Paragraph 30, this averment references a document that

 2   speaks for itself and any contrary allegations are denied. Answering further, this was

 3   never followed by the parties because it was not practical or possible. Defendant

 4   admits the following Event dates and settlement dates:

 5                a. 2013 Event Dates 6.28.13 & 6.29.13 (settlement finalized 9.5.13)

 6                b. 2014 Event Dates 6.27.14 & 6.28.14 (settlement finalized 9.30.14)

 7                c. 2015 Event Dates 6.26.15 & 6.27.15 (settlement finalized 10.1.15)

 8                d. 2016 Event Dates 6.24.16 & 6.25.16 (settlement finalized (3.20.17)

 9                e. 2017 Event Dates 6.23.17 & 6.24.17 (settlement finalized 1.18.18)

10                f. 2018 Event Dates 6.15.18 & 6.16.18 (settlement finalized 4.10.19)

11                g. 2019 Event Dates 6.14.19 & 6.15.19 (settlement finalized 12.19.19)

12         31.    Answering Paragraph 31, this averment references a document that

13   speaks for itself and any contrary allegations are denied. Answering further, this was

14   not followed by the parties because it was not practical or possible. Defendants

15   incorporates by reference their answer to Paragraph 30 as though fully set forth

16   herein.

17         32.    Answering Paragraph 32, this averment references a document that

18   speaks for itself and any contrary allegations are denied. Defendants admit Plaintiff

19   only has the right to inspect and examine books that related solely to the settlement

20   of net revenues in connection with that specific Event.

21         33.    Answering Paragraph 33, Defendants admit the same.

22         34.    Answering the first sentence of Paragraph 34, Defendants admit the

23   same. Answering the second and third sentences of Paragraph 34, this averment

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 7
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 8 of 34



 1   references a document that speaks for itself and any contrary allegations are denied.

 2   Answering further, the names of specific entities were for the purpose of funding

 3   agreed budget line items and not a promise or guarantee to pay all entities in the

 4   order submitted because the costs of the Event were the costs. Plaintiff agreed that

 5   Defendants could divert money to pay other costs of the Event if those costs

 6   became an emergency, and that is precisely what Defendants did; however, all costs

 7   were reconciled at settlement.

 8           35.   Answering the first sentence of Paragraph 35, Defendants are without

 9   information and belief as to what Plaintiff’s accountants did, and therefore deny the

10   same.     Answering the second sentence of Paragraph 35, Defendants admit

11   receiving $2,063,260.46.

12           36.   Answering Paragraph 36, this averment references a document that

13   speaks for itself and any contrary allegations are denied.

14           37.   Answering Paragraph 37, Defendants are without information and

15   belief as to what Plaintiff’s accountants did, and therefore deny the same.

16           38.   Answering the first and second sentences of Paragraph 38,

17   Defendants admit providing a funding request spreadsheet, USC invoice, and

18   backup by email. Answering the third sentence of Paragraph 38, Defendants are

19   without information and belief as to what Mr. Liu understood, and therefore deny the

20   same.

21           39.   Answering Paragraph 39, Defendants are without information and

22   belief as to what Ximena Salazar-Hanna was concerned about, and therefore deny

23

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 8
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 9 of 34



 1   the same.     Answering further, Defendants admit providing an updated funding

 2   request spreadsheet, USC invoice, and backup.

 3          40.    Answering Paragraph 40, this averment references a document that

 4   speaks for itself and any contrary allegations are denied. Answering further, the

 5   names of specific entities were for the purpose of funding an initial cost pool, not a

 6   promise or guarantee to pay those specific entities in the order submitted because

 7   the costs of the Event were the costs. Plaintiff agreed that Defendants could divert

 8   money to pay other costs of the Event if those costs became an emergency, and

 9   that is precisely what Defendants did; however, all costs were reconciled at

10   settlement.

11          41.    Answering the first sentence of Paragraph 41, Defendants admit the

12   same. Answering the second sentence of Paragraph 41, this averment references a

13   document that speaks for itself and any contrary allegations are denied. Answering

14   further, the artist agreements were for the purpose of funding an initial cost pool, not

15   a promise or guarantee to pay those specific artists in the order submitted because

16   the costs of the Event were the costs. Plaintiff agreed that Defendants could divert

17   money to pay other costs of the Event if those costs became an emergency, and

18   that is precisely what Defendants did; however, all costs were reconciled at

19   settlement.

20          42.    Answering Paragraph 42, this averment references a document that

21   speaks for itself and any contrary allegations are denied.

22          43.    Answering the first sentence of Paragraph 43, Defendants are without

23   information and belief as to what Plaintiff’s accountants did, and therefore deny the

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 9
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 10 of 34



 1   same.    Answering the second sentence of Paragraph 43, Defendants admit the

 2   same.

 3           44.   Answering the first and second sentences of Paragraph 44, this

 4   averment references a document that speaks for itself and any contrary allegations

 5   are denied. Answering further, Defendants admit the names of specific artists were

 6   for the purpose of funding an initial cost pool, not a promise or guarantee to pay

 7   those specific artists in the order submitted because the costs of the Event were the

 8   costs. Plaintiff agreed that Defendants could divert money to pay other costs of the

 9   Event if those costs became an emergency, and that is precisely what Defendants

10   did; however, all costs were reconciled at settlement. Ximena Salazar changed the

11   partnership policy and requested two-weeks’ notice for funding.

12           45.   Answering the first sentence of Paragraph 45, Defendants admit a

13   second portion of funds were sent to Defendants but are without information and

14   belief as to what Plaintiff’s accountants did, and therefore deny the same.

15   Answering the second sentence of Paragraph 45, Defendants are without

16   information and belief as to what communication Plaintiff is referring to regarding

17   reminding USC, and therefore deny the same.

18           46.   Answering Paragraph 46, Defendants admit the same.

19           47.   Answering the first sentence of Paragraph 47, Defendants admit the

20   same. Answering the second sentence of Paragraph 47, Defendants admit the

21   names of specific artists were for the purpose of funding an initial cost pool, not a

22   promise or guarantee to pay those specific artists in the order submitted because the

23   costs of the Event were the costs. Plaintiff agreed that Defendants could divert

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 10
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 11 of 34



 1   money to pay other costs of the Event if those costs became an emergency, and

 2   that is precisely what Defendants did; however, all costs were reconciled at

 3   settlement.

 4          48.    Answering Paragraph 48, this averment references a document that

 5   speaks for itself and any contrary allegations are denied.

 6          49.    Answering Paragraph 49, Defendants admit funding request No. 3 was

 7   sent to Plaintiff on May 18, 2019, funding request No. 4 was sent to Plaintiff on May

 8   24, 2019, and both were received on June 3, 2019 totaling $1,103,708.80.

 9   Defendant sent funding request No. 5 on June 12, 2019, but this was ignored by

10   Plaintiff in breach of the Agreement.

11          50.    Answering Paragraph 50, Defendants deny the same.               Defendants

12   admit informing the Plaintiff that there were other costs owing for the Event.

13          51.    Answering the first three sentences of Paragraph 51, Defendants deny

14   the same.     Answering the fourth sentence of Paragraph 51, Defendants admit

15   Plaintiff was obligated to pay additional funds as required under the Agreement.

16          52.    Answering Paragraph 52, Defendants admit that because Plaintiff

17   ignored funding request No. 5 on June 12, 2019 in breach of the Agreement and the

18   parties’ pattern of practice, Plaintiff elected to pay additional artists and vendors.

19          53.    Answering the Paragraph 53, Defendants admit Plaintiff contacted

20   Defendants about paying some invoices, that were paid by Defendants.

21          54.    Answering the first and second sentences of Paragraph 54,

22   Defendants are without information and belief as to what Plaintiff’s accountants did

23   or learned, and therefore deny the same. Answering the third and fourth sentences

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 11
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 12 of 34



 1   of Paragraph 54, Defendants admit the same.         Answering the fifth sentence of

 2   Paragraph 54, Defendants deny the same.

 3         55.    Answering the first sentence of Paragraph 55, Defendants admit the

 4   same. Answering the second sentence of Paragraph 55, Defendants admit Plaintiff

 5   made payment, but deny the remaining allegations. Answering the final sentence of

 6   Paragraph 55, Defendants deny the same.

 7         56.    Answering Paragraph 56, Defendants are without information and

 8   belief regarding this averment and therefore deny the same.

 9         57.    Answering Paragraph 57, this averment references a document that

10   speaks for itself and any contrary allegations are denied.

11         58.    Answering Paragraph 58, Defendants are without information and

12   belief regarding this averment and therefore deny the same.

13         59.    Answering Paragraph 59, Defendants are without information and

14   belief regarding this averment and therefore deny the same.

15         60.    Answering the first sentence of Paragraph 60, Defendants are without

16   information and belief regarding this averment and therefore deny the same.

17         61.    Answering the first sentence of Paragraph 61, Defendants admit the

18   same. Answering the second sentence of Paragraph 61, Defendants deny the same.

19         62.    Answering Paragraph 62, Defendants are without information and

20   belief regarding what Plaintiff knew and/or was concerned about, and therefore deny

21   the same.    Answering the remainder, Defendants admit receiving requests from

22   Plaintiff and responding they would respond.

23

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 12
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 13 of 34



 1          63.    Answering Paragraph 63, Defendants admit receiving requests from

 2   Plaintiff and responding they would respond. Answering the remainder, Defendants

 3   admit they had provided all of the information required under the Agreement and that

 4   had been submitted in all prior years.

 5          64.    Answering Paragraph 64, this references a document that speaks for

 6   itself and any contrary allegations are denied. Answering further, Defendants admit

 7   the names of specific artists were for the purpose of funding an initial cost pool, not a

 8   promise or guarantee to pay those specific artists in the order submitted because the

 9   costs of the Event were the costs. Plaintiff agreed that Defendants could divert

10   money to pay other costs of the Event if those costs became an emergency, and

11   that is precisely what Defendants did; however, all costs were reconciled at

12   settlement.

13          65.    Answering Paragraph 65, Defendants deny the same.              Answering

14   further, Defendants admit there was an error that was corrected immediately.

15          66.    Answering Paragraph 66, this references a document that speaks for

16   itself and any contrary allegations are denied.

17          67.    Answering Paragraph 67, this references a document that speaks for

18   itself and any contrary allegations are denied. Answering further, Defendants deny

19   there were any irregularities because the names of specific artists were for the

20   purpose of funding an initial cost pool, not a promise or guarantee to pay those

21   specific artists in the order submitted because the costs of the Event were the costs.

22   Plaintiff agreed that Defendants could divert money to pay other costs of the Event if

23

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 13
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 14 of 34



 1   those costs became an emergency, and that is precisely what Defendants did;

 2   however, all costs were reconciled at settlement.

 3         68.    Answering the first sentence of Paragraph 68, Defendants deny the

 4   same. Answering the second and third sentences of Paragraph 68, this references a

 5   document that speaks for itself and any contrary allegations are denied. Answering

 6   the final sentence of Paragraph 68, Defendants are without information and belief

 7   regarding what type of report Plaintiff seeks, and therefore deny the same.

 8         69.    Answering the first and second sentences of Paragraph 69,

 9   Defendants are without information and belief regarding what type of report Plaintiff

10   seeks, and therefore deny the same. Answering the second sentence further, and

11   the third sentence of Paragraph 69, Defendants admit receiving communications

12   from Plaintiff, but deny additional documents were needed.

13         70.    Answering paragraph 70, Defendants admit receiving communications

14   from Plaintiff, but cannot answer the vague allegation regarding “updates,” and

15   therefore deny the same.

16         71.    Answering the first sentence of Paragraph 71, Defendants are without

17   information and belief regarding what Plaintiff learned, and therefore deny the same.

18   Answering the second sentence of Paragraph 71, Defendants admit receiving

19   communications from Plaintiff, but deny additional documents were needed to settle

20   the Event.

21         72.    Answering Paragraph 72, Defendants deny Plaintiff complied with the

22   notice requirements under the Agreement but admit Exhibit B is a copy of the letter

23

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 14
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 15 of 34



 1   Plaintiff sent. Answering further, this averment references a document that speaks

 2   for itself and any contrary allegations are denied.

 3          73.    Answering Paragraph 73, Defendants deny Plaintiff complied with the

 4   notice requirements under the Agreement but admit emailing regarding the letter.

 5          74.    Answering Paragraph 74, Defendants deny breach, but admit Exhibit C

 6   is a copy of the letter Plaintiff sent. Answering the remaining allegations, Defendants

 7   are without information and belief, and therefore deny the same.

 8          75.    Answering Paragraph 75, Defendants deny the Agreement was

 9   terminated, but admit holding discussions regarding settling the Event.

10          76.    Answering the first sentence of Paragraph 76, Defendants deny the

11   Agreement was terminated and deny the period to cure had expired. Answering the

12   remainder, Plaintiff failed until October 28, 2019 to voice its concern over the

13   documents and the so-called “AP register” Defendants submitted, and Defendants

14   deny anything further was required under the Agreement.

15          77.    Answering Paragraph 77, Defendants admit that Agreement was not

16   terminated because service was not proper, admit demanding payment for hundreds

17   of thousands of dollars owed to Defendants, and admit offering to provide additional

18   information not otherwise required under the Agreement. All remaining allegations

19   are denied.

20          78.    Answering Paragraph 78, Defendants admit the same.

21          79.    Answering Paragraph 79, Defendants admit there were many

22   communications back and forth between the parties, but deny Defendant was non-

23   responsive.

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 15
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 16 of 34



 1         80.    Answering the first sentence of Paragraph 80, Defendants admit

 2   sending additional information that was not required under the Agreement, but deny

 3   anything further was necessary.      Answering the second and third sentence of

 4   Paragraph 80, Defendants admit they entered into the 2019 Event Settlement, but

 5   deny all remaining allegations.

 6         81.    Answering Paragraph 81, this averment references a document that

 7   speaks for itself and any contrary allegations are denied.

 8         82.    Answering Paragraph 82, this averment references a document that

 9   speaks for itself and any contrary allegations are denied.

10         83.     Answering Paragraph 83, this averment references a document that

11   speaks for itself and any contrary allegations are denied.

12         84.    Answering Paragraph 84, this averment references a document that

13   speaks for itself and any contrary allegations are denied.

14         85.    Answering Paragraph 85, Defendants admit the same.

15         86.    Answering Paragraph 86, Defendants deny the same.

16         87.    Answering      Paragraph     87,   Defendants   admit   there    were

17   communications, but deny failing to provide payment confirmation.

18         88.    Answering Paragraph 88, this averment references a document that

19   speaks for itself and any contrary allegations are denied. Answering further,

20   Defendants are without information and belief as to what vendor is referred to, and

21   therefore deny the same.

22         89.    Answering Paragraph 89, this averment references a document that

23   speaks for itself and any contrary allegations are denied. Answering further,

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 16
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 17 of 34



 1   Defendants are without information and belief as to what vendor is referred to, and

 2   therefore deny the same.

 3         90.    Answering Paragraph 90, this averment references a document that

 4   speaks for itself and any contrary allegations are denied. Answering further,

 5   Defendants are without information and belief as to what vendor is referred to, and

 6   therefore deny the same.

 7         91.    Answering Paragraph 91, Defendants are without information and

 8   belief as to what vendors are referred to, and therefore deny the same.

 9         92.    Answering Paragraph 92, Defendants admit the same.

10         93.    Answering Paragraph 93, Defendants admit the same.

11         94.    Answering Paragraph 94, Defendants admit the same.

12         95.    Answering Paragraph 95, Defendants admit the same.

13         96.    Answering Paragraph 96, Defendants deny Plaintiff have terminated

14   the Agreement and seek to have it specifically enforced.

15         97.    Answering Paragraph 97, Defendants deny Plaintiff have terminated

16   the Agreement and seek to have it specifically enforced.

17                              V. Insomniac’s Claims for Relief

18                                         FIRST CLAIM

19         98.    Answering Paragraph 98, no answer is required.

20         99.    Answering Paragraph 99, Defendants deny the same.

21         100.   Answering Paragraph 100, Defendants deny the same.

22         101.   Answering Paragraph 101, Defendants admit receiving a letter, but

23   deny it terminated the Agreement.

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 17
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 18 of 34



 1         102.    Answering Paragraph 102, Defendants admit voicing objection that

 2   Plaintiff had wrongfully retained hundreds of thousands of dollars owing to the

 3   Defendants.

 4         103.    Answering Paragraph 103, Defendants admit the same.

 5         104.    Answering Paragraph 104, Defendants admit the same.

 6         105.    Answering Paragraph 105, this averment references a document that

 7   speaks for itself and any contrary allegations are denied. The relief Plaintiff seek is

 8   denied by Defendants.

 9         106.    Answering Paragraph 106, the relief Plaintiff seek is denied by

10   Defendants.

11                                     SECOND CLAIM

12         107.    Answering Paragraph 107, no answer is required.

13         108.    Answering Paragraph 108, this averment references a document that

14   speaks for itself and any contrary allegations are denied.

15         109.    Answering Paragraph 109, Defendants deny the same.

16         110.    Answering Paragraph 110, Defendants deny the same.

17         111.    Answering Paragraph 111, Defendants deny the same.

18         112.    Answering Paragraph 112, Defendants admit the same.

19         113.    Answering Paragraph 113, Defendants deny the same.

20         114.    Answering Paragraph 114, the relief Plaintiff seek is denied by

21   Defendants.

22                                      THIRD CLAIM

23         115.    Answering Paragraph 115, no answer is required.

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 18
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 19 of 34



 1         116.   Answering Paragraph 116, Defendants admit the same.

 2         117.   Answering Paragraph 117, this averment references a document that

 3   speaks for itself and any contrary allegations are denied.

 4         118.   Answering Paragraph 118, this averment references a document that

 5   speaks for itself and any contrary allegations are denied.

 6         119.   Answering Paragraph 119, this averment references a document that

 7   speaks for itself and any contrary allegations are denied.

 8         120.   Answering Paragraph 120, Defendants admit releasing a teaser, but

 9   deny any promotion since this lawsuit was served.

10         121.   Answering Paragraph 121, Defendants deny the same.

11         122.   Answering Paragraph 122, Defendants admit the same.

12         123.   Answering Paragraph 123, Defendants admit releasing teaser, but

13   deny any promotion since this lawsuit was served.

14         124.   Answering Paragraph 124, Defendants deny the same.

15         125.   Answering Paragraph 125, Defendants deny the same.

16         126.   Answering Paragraph 126, Defendants deny the same.

17         127.   Answering Paragraph 127, Defendants deny the same.

18         128.   Answering Paragraph 128, Defendants deny the same.

19         129.   Answering Paragraph 129, Defendants deny the same.

20                                     FOURTH CLAIM

21         130.   Answering Paragraph 130, no answer is required.

22         131.   Answering Paragraph 131, this averment references a document that

23   speaks for itself and any contrary allegations are denied.

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 19
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 20 of 34



 1         132.   Answering Paragraph 132, Defendants are without information and

 2   belief as to the identity of the vendors referred to, and therefore denies the same.

 3   To the extent an answer is required, Defendants admit not paying all parties and

 4   entities who worked the Event due to Plaintiff’s failure to abide by the Agreement

 5   and pay sums owed to Defendants.

 6         133.   Answering Paragraph 133, Defendants are without information and

 7   belief as to the identity of the vendors referred to, and therefore denies the same.

 8   To the extent an answer is required, Defendants admit not paying all parties and

 9   entities who worked the Event due to Plaintiff’s failure to abide by the Agreement

10   and pay sums owed to Defendants.

11         134.   Answering Paragraph 134, Defendants are without information and

12   belief as to the identity of the vendors referred to, and therefore denies the same.

13   To the extent an answer is required, Defendants admit not paying all parties and

14   entities who worked the Event due to Plaintiff’s failure to abide by the Agreement

15   and pay sums owed to Defendants.

16         135.   Answering Paragraph 135, Defendants deny the same.

17         136.   Answering Paragraph 136, Defendants deny the same.

18         137.   Answering Paragraph 137, Defendants deny the same.

19                                       FIFTH CLAIM

20         138.   Answering Paragraph 138, no answer is required.

21         139.   Answering Paragraph 139, Defendants admit contacting Plaintiff in

22   February 2019 regarding the first round of artist deposits, but are without information

23   or belief as to Plaintiff’s concerns and therefore deny the same.

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 20
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 21 of 34



 1          140.   Answering Paragraph 140, Defendants are without information and

 2   belief regarding what Plaintiff understood, and therefore denies the same.

 3          141.   Answering Paragraph 141, Defendants admit providing an updated

 4   funding request spreadsheet, USC invoice, and backup.

 5          142.   Answering Paragraph 142, these averments reference documents that

 6   speak for themselves and any contrary allegations are denied. Answering further,

 7   Defendants admit providing an updated funding request spreadsheet, USC invoice,

 8   and backup, but Plaintiff ignored funding request No. 5 on June 12, 2019 in breach

 9   of the Agreement and the parties’ pattern of practice,

10          143.   Answering    Paragraph    143,   Defendants     deny   the   same,    and

11   Defendants admit the names of specific artists were for the purpose of funding an

12   initial cost pool, not a promise or guarantee to pay those specific artists in the order

13   submitted because the costs of the Event were the costs. Plaintiff agreed that

14   Defendants could divert money to pay other costs of the Event if those costs

15   became an emergency, and that is precisely what Defendants did; however, all costs

16   were reconciled at settlement.

17          144.   Answering    Paragraph    144,   Defendants     deny   the   same,    and

18   Defendants admit the names of specific artists were for the purpose of funding an

19   initial cost pool, not a promise or guarantee to pay those specific artists in the order

20   submitted because the costs of the Event were the costs. Plaintiff agreed that

21   Defendants could divert money to pay other costs of the Event if those costs

22   became an emergency, and that is precisely what Defendants did; however, all costs

23   were reconciled at settlement.

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 21
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 22 of 34



 1           145.   Answering the first sentence of Paragraph 145, Defendants are without

 2   information and belief as to what Plaintiff’s accountants did, and therefore deny the

 3   same.     Answering the second sentence of Paragraph 35, Defendants admit

 4   receiving advanced funds, but deny the funds were to exclusively be used for any

 5   purpose other than funding an initial cost pool.

 6           146.   Answering Paragraph 146, Defendants deny the same.

 7           147.   Answering Paragraph 147, Defendants deny the same.

 8           148.   Answering   Paragraph    148,   Defendants     deny   the   same,    and

 9   Defendants admit the names of specific artists were for the purpose of funding an

10   initial cost pool, not a promise or guarantee to pay those specific artists in the order

11   submitted because the costs of the Event were the costs. Plaintiff agreed that

12   Defendants could divert money to pay other costs of the Event if those costs

13   became an emergency, and that is precisely what Defendants did; however, all costs

14   were reconciled at settlement.

15           149.   Answering   Paragraph    149,   Defendants     deny   the   same,    and

16   Defendants admit the names of specific artists were for the purpose of funding an

17   initial cost pool, not a promise or guarantee to pay those specific artists in the order

18   submitted because the costs of the Event were the costs. Plaintiff agreed that

19   Defendants could divert money to pay other costs of the Event if those costs

20   became an emergency, and that is precisely what Defendants did; however, all costs

21   were reconciled at settlement.

22           150.   Answering Paragraph 150, Defendants admit there was a balance

23   owing for the Event because Plaintiff breached its duty to advance funds to

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 22
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 23 of 34



 1   Defendants as required under the Agreement and the parties’ pattern of practice. All

 2   remaining allegations are denied.

 3         151.   Answering Paragraph 151, Defendants admit there was a balance

 4   owing for the Event because Plaintiff breached its duty to fund requests, and

 5   Defendants requested Plaintiff pay all balances owed. Defendants admit the names

 6   of specific artists were for the purpose of funding an initial cost pool, not a promise

 7   or guarantee to pay those specific artists in the order submitted because the costs of

 8   the Event were the costs. Plaintiff agreed that Defendants could divert money to pay

 9   other costs of the Event if those costs became an emergency, and that is precisely

10   what Defendants did; however, all costs were reconciled at settlement.              All

11   remaining allegations are denied.

12         152.   Answering Paragraph 152, this averment references a document that

13   speaks for itself and any contrary allegations are denied. Answering further, these

14   averments are legal conclusions to which no answer is required, to the extent an

15   answer is required, it is denied. To the extent these allegations are not covered by

16   the Agreement, the course of the parties’ conduct refutes all remaining allegations in

17   Paragraph 152.

18         153.   Answering Paragraph 153, Defendants are without information and

19   belief regarding what Plaintiff understood, and therefore denies the same.

20   Answering further, Defendants are aware some vendors contacted Plaintiff for

21   payment, but are without information and belief as to what this vague averment

22   references, and whether Plaintiff or Defendant was required to pay the same.

23

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 23
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 24 of 34



 1         154.   Answering Paragraph 154, this averment references a document that

 2   speaks for itself and any contrary allegations are denied.

 3         155.   Answering Paragraph 155, Defendants are aware some vendors

 4   contacted Plaintiff for payment, but are without information and belief as to what this

 5   vague averment references, and whether Plaintiff or Defendant was required to pay

 6   the same. Defendants admit some vendors are currently owed payment from USC

 7   under the 2019 Event Settlement agreement.

 8         156.   Answering Paragraph 156, this averment references a legal conclusion

 9   to which no answer is required.

10         157.   Answering Paragraph 157, Defendants admit the same.

11         158.   Answering Paragraph 158, Defendants deny the same.

12         159.   Answering Paragraph 159, Defendants deny the same.

13         160.   Answering Paragraph 147, Defendants deny the same.

14                             VI. AFFIRMATIVE DEFENSES

15         Comes now Defendants, CONSCIOUS ENTERTAINMENT GROUP, LLC, A

16   Washington Liability Company, and CHAD ANDERSON, and assert the following

17   affirmative defenses to the Counterclaims:

18         1.     Failure to state a claim upon which relief can be granted;

19         2.     Contributory negligence;

20         3.     Plaintiff has failed to mitigate its damages, the existence of which are

21   denied;

22         4.     Plaintiff’s claims are barred, in whole or in part, due to laches, unclean

23   hands, waiver and/or estoppel;

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 24
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 25 of 34



 1            5.   Plaintiff’s claims are barred by its own fraud, deceit, bad faith and

 2   misrepresentation and/or by fraud, deceit, bad faith and misrepresentation of a third

 3   party.

 4            6.   Any damages suffered by Plaintiff, the existence of which are denied,

 5   were caused in whole or in part or were contributed to by reason of the acts,

 6   omissions, negligence and/or intentional misconduct of Plaintiff, its agents, and/or

 7   third parties over which Defendants had no control; and

 8            7.   The Defendants have been required to retain the services of an

 9   attorney to defend this action, have been damaged thereby, and are entitled to

10   recover from Plaintiff its reasonable attorneys’ fees and costs of suit.

11            8.   The Defendants have been required to retain the services of an

12   attorney to defend this action, have been damaged thereby, and are entitled to

13   recover from Plaintiff its reasonable attorneys’ fees and costs of suit.

14                              VII.   VERIFIED COUNTER CLAIM

15                                           A. Parties.

16            1.   Counterclaim Plaintiff CONSCIOUS ENTERTAINMENT GROUP, LLC

17   (USC) is a Washington limited liability company with its principal place of business in

18   Seattle, King County, Washington.

19            2.   Counterclaim Plaintiff Chad Anderson is a citizen of Washington State

20   who resides in King County, Washington. Mr. Anderson is the Founder and CEO of

21   USC. Mr. Anderson is the only LLC member of USC.

22            3.   Counterclaim Defendant, Insomniac is a Delaware limited liability

23   company with its principal place of business in Beverly Hills, California. Insomniac is

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 25
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 26 of 34



 1   a music event promoter that regularly promotes electronic music events around the

 2   country. Insomniac is an affiliate of House of Blues Concerts, Inc., a California

 3   corporation (“HOB”).       Upon information and belief, for purposes of diversity,

 4   Insomniac’s LLC members are citizens of Delaware, Nevada, and/or California.

 5                                    B. Jurisdiction and Venue.

 6
            4.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332
 7
     because this is a civil action between citizens of different states, and the amount in
 8
     controversy exceeds $75,000, exclusive of interest and costs.
 9
            5.      Venue is proper in this Court under 18 U.S.C. § 1391(b)(1) because
10
     Counterclaim Plaintiffs reside in this District.
11
            6.      This Court has the authority to determine the parties’ respective rights
12
     and other legal obligations pursuant to the Federal Declaratory Judgement Act. 28
13
     U.S.C. § 2201. The dispute between the parties with respect to the termination
14
     status of the Agreement creates a justiciable controversy.
15
                                                C. Facts.
16
            7.      Chad Anderson has been a premier music and artist promoter in the
17
     Northwest for more than twenty years.
18
            8.      USC was formed in 2011.
19
            9.      On March 19, 2013, HOB and USC entered into an Agreement for the
20
     purpose of promoting and conducting the 2013 Paradiso Festival (the “Event”).
21
            10.     The parties operated under a venue agreement that allowed the Event
22
     to be held at the Gorge Amphitheatre.
23

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 26
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 27 of 34



 1            11.   On or around May 1, 2013, HOB assigned the Agreement to

 2   Insomniac.

 3            12.   In general, Insomniac received early ticket sale money for the Event,

 4   and advanced money to USC to pay various costs, artists, and vendors for the

 5   Event.

 6            13.   Insomniac and USC’s standard of practice for these advances required

 7   USC to submit an initial list of artists and vendors to Insomniac, who would then

 8   provide an advance deposit to USC for the Event.

 9            14.   The names of specific artists and vendors were for the purpose of

10   funding an initial cost pool, not a promise or guarantee to pay those specific artists

11   or vendors in the order submitted because the costs of the Event were the costs.

12            15.   Since 2013, Live Nation, the predecessor in interest, and later

13   Insomniac, USC agreed that USC could divert advance money to pay other costs for

14   the Event if those costs became an emergency in USC’s discretion.

15            16.   This flexible arrangement was critical, allowing USC to respond to

16   immediate vendor, shipper, artist, and/or materialmen and/or supplier demands.

17            17.   At the conclusion of the Event, USC and Insomniac would reconcile

18   income with expenses.

19            18.   In 2016, Insomniac advanced USC $2,646,119.68 for the Event.

20            19.   In 2017, Insomniac advanced USC $2,910,802.45 for the Event.

21            20.   In 2018, Plaintiff advanced USC $2,922,274.10 for the Event.

22            21.   In 2019, Insomniac breached its agreement and standard of practice

23   by only advancing USC $2,062.760.46 for the Event.

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 27
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 28 of 34



 1          22.    The Agreement is automatically annually renewed unless and until it is

 2   no longer profitable.

 3          23.    The Agreement is profitable, and has been profitable, as defined in the

 4   Agreement and is required to be renewed for the 2020 year accordingly to the plain

 5   language of the Agreement.

 6          24.    Despite requests from USC, Insomniac breached the Agreement and

 7   their standard of practice by failing to advance $638,650 to USC that was owed to

 8   artists for the Event.

 9          25.    Insomniac falsely blamed USC for Insomniac’s own failure to pay USC,

10   who would then pay these artists, and subsequently circumvented USC by directly

11   paying $638,650 to artists all the while blaming USC for its own failure to pay.

12          26.    Despite requests from USC, Insomniac breached the Agreement and

13   the parties’ standard of practice by failing to pay when requested by USC $215,055

14   owed to Paradigm artists for the Event.

15          27.    Insomniac falsely blamed USC for Insomniac’s own failure to pay USC,

16   who would then pay Paradigm artists, and subsequently circumvented USC by

17   directly paying $215,055 to Paradigm artists all the while blaming USC for its own

18   failure to pay.

19          28.    Insomniac realized the Event was highly profitable, and created delays

20   and excuses to terminate its Agreement with USC so it would no longer have to

21   share profits 50/50 with USC.

22

23

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 28
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 29 of 34



 1          29.       Insomniac unreasonably and unfairly delayed payments to USC,

 2   causing harm to USC and Chad Anderson, their reputation, and business

 3   relationships.

 4          30.       Insomniac failed and refused to timely pay USC’s funding requests.

 5          31.       Insomniac interfered with bad faith with USC’s ability to perform under

 6   the Agreement.

 7          32.       Upon   information   and    belief,   Insomniac’s   Senior   Director   of

 8   Finance/Accounting unilaterally developed a new methodology for how the Event

 9   should be managed and funded.

10          33.       This new “policy” dramatically slowed the response time for USC to

11   respond to important changes.

12          34.       During and leading up to the Event, Insomniac refused to fund

13   requests for payment unless it had two-week’s notice, when the prior agreement had

14   always been to process funding requests in three to five days.

15          35.       Insomniac refused to accept financial documents provided by USC as

16   sufficient as a subterfuge to falsely claim a breach of Section 4(c) of the Agreement.

17          36.       Insomniac’s rejection of the financial documents provided by USC was

18   calculated to allow Insomniac to wrongly and without legal excuse back out of the

19   Agreement.

20          37.       USC continued to produce information as requested, but Insomniac

21   continued to move the goal post and complain the information was not sufficient to

22   reconcile the Event.

23          38.       The information was sufficient to reconcile the Event.

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 29
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 30 of 34



 1            39.   Insomniac emailed a letter to Chad Anderson on September 11, 2019

 2   at 7:04 p.m. purporting to terminate the Agreement.

 3            40.   Insomniac’s letter failed to comply with Section 10(h) of the

 4   Agreement.

 5            41.   Notwithstanding Insomniac’s failure, Chad Anderson responded 10

 6   days, one hour and 23 minutes later, with additional information, thereby curing any

 7   alleged default.

 8            42.   Insomniac strategically waited until October 28, 2019 to respond that

 9   the information Mr. Anderson sent was not sufficient to reconcile the Event.

10            43.   The information Mr. Anderson provided was sufficient to reconcile the

11   Event.

12            44.   Insomniac’s actions were in bad faith and made to falsely create a

13   claim of breach, thereby allowing Insomniac to terminate the Agreement even

14   though the Event was profitable.

15            45.   Insomniac damaged the Counterclaim Plaintiffs’ reputations by

16   publishing false information.

17            46.   Insomniac is in breach of the Agreement.

18            47.   Although the Agreement has not been terminated, Insomniac started

19   promoting a competing event during the same time as the Event.

20            48.   Due to USC’s longtime association with the Event, Insomniac’s

21   conduct in promoting a competing event with the Paradiso Festival 2020 has

22   damaged USC and USC’s business relationships with the artists and vendors.

23

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 30
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 31 of 34



 1                                  USC’s Claims for Relief

 2                          FIRST CLAIM—DECLARATORY JUDGEMENT
                                 (ENFORCEMENT OF AGREEMENT)
 3

 4          49.   USC complied with the Agreement by providing information reasonable

 5   and necessary to allow the parties to reconcile the costs, expenses and receipts as

 6   required in Section 4(c) of the Agreement.

 7          50.   Insomniac’s September 11, 2019 letter failed to comply with Section

 8   10(h) of the Agreement.

 9          51.   In the alternative, USC timely cured any breach.

10          52.   USC is entitled to a declaratory judgment that the Agreement is valid

11   and enforceable.

12          53.   USC is entitled to a declaratory judgment declaring Insomniac must

13   comply with the terms of the Agreement because the Event is still profitable, and

14   USC has not breached the Agreement.

15          54.   USC is entitled to a declaratory judgment holding that by altering the

16   course of conduct, refusing to advance funds, refusing to communicate, and refusing

17   accept financial documents, Insomniac breached the Agreement.

18                              SECOND CLAIM—BREACH

19          55.   Insomniac and USC were parties to the Agreement, a fully executed

20   contract.

21          56.   Under Sections 1 and 9 of the Agreement, Paradiso Festival was a

22   weekend event held in June at the Gorge Amphitheatre, a venue operated by HOB,

23   Insomniac’s parent company, for the Gorge Amphitheatre.

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 31
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 32 of 34



 1          57.    Although the Agreement has not been terminated, Insomniac started

 2   promoting a competing event during the same time as the Paradiso Event.

 3          58.    Due to USC’s longtime association with Paradiso Festival, Insomniac’s

 4   conduct in promoting a competing event with Paradiso Festival 2020 will reflect on

 5   USC and affect USC’s business relationship with the artists and vendors who

 6   support Paradiso Festival.

 7          59.    If Insomniac is permitted to promote competing event with the Paradiso

 8   Festival 2020, disappointed electronic music fans may wrongly blame Counterclaim

 9   Plaintiffs when the Event does not take place due to USC’s longtime association with

10   Paradiso Festival.

11          60.    These consumers may also be harmed by Insomniac’s actions, such

12   as by purchasing air tickets or making other travel arrangements to attend a non-

13   existent event.

14          61.    As a direct and proximate result of Insomniac’s conduct, USC has

15   suffered, and will continue to suffer severe, immediate, and irreparable injury to its

16   business, goodwill, and reputation.

17          62.    Unless such acts are restrained by this Court, they will be continued,

18   and Counterclaim Plaintiffs will continue to suffer great and irreparable injury.

19          63.    Counterclaim Plaintiffs have no adequate remedy at law.

20          64.    Counterclaim Plaintiffs are entitled to an injunction against Insomniac

21   in order to stop Insomniac’s from promoting a competing event with Paradiso

22   Festival 2020.

23

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 32
25
         Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 33 of 34



 1                                VIII.   PRAYER FOR RELIEF

 2         Counterclaim      Plaintiffs    CHAD     ANDERSON         and     CONSCIOUS

 3   ENTERTAINMENT GROUP, LLC having asserted Counterclaim claims for relief,

 4   request:

 5         1.     A Declaration that the Agreement was not terminated and is

 6   enforceable and in effect;

 7         2.     A preliminary and permanent injunction, enjoining and restraining

 8   Insomniac from running a competing event with the Paradiso Festival;

 9         3.     An award of monetary damages and/or compensatory damages

10   against Counterclaim Insomniac in an amount to be proven at trial;

11         4.     Costs and attorneys’ fees;

12         5.     The right to amend this Counterclaim as investigation warrants;

13         6.     The right to conform the pleadings to the evidence admitted at trial;

14         7.     Such other relief as the Court deems just an equitable.

15         DATED this 27th day of March, 2020.

16                                           VALOR LAW GROUP, PS

17

18

19                                           __________________________________
                                             Alex Thomason, WSBA #35975
20                                           Attorney for Defendants and Counterclaim
                                             Plaintiffs
21

22

23

24
     DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES
     AND COUNTERCLAIMS - 33
25
Case 2:20-cv-00137-RSL Document 15 Filed 03/27/20 Page 34 of 34
